          Case 2:18-cr-00026-JHS Document 59 Filed 07/15/21 Page 1 of 1


                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    CRIMINAL ACTION
                                     Plaintiff
UNITED STATES OF AMERICA
     v.

JUSTIN DAVID MAY                                      No. 18-CR-26-1; 19-CR-417-1
                                     Defendant

                    NOTICE OF FILING OF OFFICIAL TRANSCRIPT

     Notice is hereby given that an official transcript of a proceeding held on 6/3/2021 has been
filed by the Office of the Clerk of Court in the above-captioned matter. The parties have seven
(7) business days to file with the court a Notice of Intent to Request Redaction of this transcript.
If no such Notice is filed, the transcript may be made remotely electronically available to the
public without redaction after ninety (90) calendar days.

    Unless otherwise ordered by the court, the attorney must review the following portions of the
transcript:

    $          opening and closing statements made on the party's behalf;
    $          statements of the party;
    $          the testimony of any witnesses called by the party;
    $          sentencing proceedings; and
    $          any other portion of the transcript as ordered by the court.

    Any party needing a copy of the transcript to review for redaction purposes may purchase a
copy through the Office of the Clerk of Court or view the document at the Clerk's Office public
terminal.


                                                                 s/ Eric Sobieski
                                                                Deputy Clerk

Date: 7/15/2021

                                       Certificate of Service

     I hereby certify that on 7/15/2021 , I served the forgoing notice upon the parties in this
matter via e-mail and/or via first-class mail as indicated in the attached Notice of Electronic
filing.



                                                                 s/ Eric Sobieski
                                                                Deputy Clerk
